Case 2:18-cv-09109-JAK-KS Document 1 Filed 10/23/18 Page 1 of 7 Page ID #:1




 1   JAMES C. NIELSEN (111889)
 2    jnielsen@nielsenhaley.com
     TUNG KHUU (221381)
 3
      tkhuu@nielsenhaley.com
 4   NIELSEN, HALEY & ABBOTT LLP
     100 Smith Ranch Road, Suite 350
 5
     San Rafael, California 94903
 6   Telephone: (415) 693-0900
     Facsimile: (415) 693-9674
 7

 8   Attorneys for Plaintiff,
     Mesa Underwriters Specialty Insurance Company
 9

10

11                        UNITED STATES DISTRICT COURT
12        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
13

14
     MESA UNDERWRITERS SPECIALTY                        No. _________________________
15   INSURANCE COMPANY,
16
                  Plaintiff,                            COMPLAINT FOR
17                                                      DECLARATORY JUDGMENT
18         v.

19   APEEL TECHNOLOGY, INC.;       (DEMAND FOR JURY TRIAL)
20   ALLERGAN, INC.; LOS CARNEROS
     BUSINESS PARK L.P.; MERIDIAN
21   GROUP REAL ESTATE MANAGEMENT,
22   INC.; RYAN KAUFMAN,
23                Defendants.
24
25         Plaintiff Mesa Underwriters Specialty Insurance Company (“Mesa”)
26   complains against Defendants, Apeel Technology, Inc., Allergan, Inc., Los
27   Carneros Business Park L.P., Meridian Group Real Estate Management, Inc., and
28   Ryan Kaufman as follows:
                                                   1
      _______________________________________________________________________________________
                                COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:18-cv-09109-JAK-KS Document 1 Filed 10/23/18 Page 2 of 7 Page ID #:2




 1          1.     The court has original jurisdiction over this action under 28 U.S.C.
 2   §1332 because it is a civil action between citizens of different states and the
 3   amount in controversy, exclusive of interest and costs, exceeds $75,000. The court
 4   further has jurisdiction under the Declaratory Judgment Act, 28 U.S.C. §§ 2201-
 5   2202, because Plaintiff Mesa seeks a judgment declaring that it owes no duties
 6   under its general liability insurance policy to defend or indemnify any of the
 7   defendants in connection with an underlying lawsuit, as alleged more fully below.
 8          2.     Venue is proper in this court under 28 U.S.C. §1391(b)(1) and (2)
 9   because many of the defendants are residents of this district, and because a
10   substantial part of the events or omissions giving rise to the underlying claim
11   occurred in this district.
12          3.     Plaintiff was incorporated in the state of Oklahoma in 1979. In 2012,
13   plaintiff changed its name from Montpelier U.S. Insurance Company to Mesa
14   Underwriters Specialty Insurance Company and redomiciled in the state of New
15   Jersey. Mesa’s principal place of business is in Branchville, New Jersey.
16          4.     Defendant Apeel Technology, Inc. (“Apeel”) was incorporated in
17   Delaware with its principal place of business in Goleta, California.
18          5.     Defendant Allergan, Inc., was incorporated in Delaware with its
19   principal place of business in Irvine, California. The California Secretary of State
20   website currently identifies both “entity address” and “entity mailing address” of
21   Allergan, Inc. as 2525 Dupont Drive, Irvine, CA 92612. Allergan, Inc., has stated
22   in its latest Statements of Information filed with the California Secretary of State,
23   dated May 18, 2018 and May 31, 2018, that its “STREET ADDRESS OF PRINCIPAL
24   EXECUTIVE OFFICE” is 2525 Dupont Drive, Irvine, CA 92612. Allergen, Inc.’s
25   most recent complaint filed in this Court (Case no. 2:17-cv-03377-JFW-SK; Doc.
26   No. 6) likewise alleged that Allergan, Inc., is a corporation organized and existing
27   under the laws of the State of Delaware with a place of business at 2525 Dupont
28   Drive, Irvine, California 92612. In that action, Allergan, Inc., disclosed that
                                                   2
      _______________________________________________________________________________________
                                COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:18-cv-09109-JAK-KS Document 1 Filed 10/23/18 Page 3 of 7 Page ID #:3




 1   Allergan, Inc., is a wholly owned subsidiary of an Irish company, Allergan plc, that
 2   Allergan, Inc., was acquired by Actavis plc in March 2015, and that following
 3   acquisition, Actavis plc was renamed Allergan plc. (Case no. 2:17-cv-03377-JFW-
 4   SK; Doc. No. 9.)
 5         6.      Defendant Los Carneros Business Park L.P. (“Los Carneros Business
 6   Park”) is a California limited partnership with its principal place of business in
 7   Santa Barbara, California. Los Carneros Business Park has one general partner,
 8   Hurst Enterprises, Inc., which is a California corporation with its principal place of
 9   business in Montecito, California. Mesa is informed and believes, and on that basis
10   alleges, that Los Carneros Business Park has no limited partners that are citizens of
11   either Oklahoma or New Jersey.
12         7.      Defendant Meridian Group Real Estate Management, Inc.,
13   (“Meridian”) was incorporated in California with its principal place of business in
14   Santa Barbara, California.
15         8.      Defendant Ryan Kaufman is, and at all relevant times was, a citizen of
16   California.
17         9.      On July 12, 2017, Ryan Kaufman filed a lawsuit styled Ryan Kaufman
18   v. Apeel Technology, Inc. et al., in the Santa Barbara County Superior Court, case
19   no. 17CV03060 (the “Kaufman action”), seeking damages in excess of $10 million
20   for work-related bodily injuries he suffered on June 1, 2017, while installing
21   security video cameras on the outside of a building located at 71 S. Los Carneros
22   Road, Goleta, California. Without admitting the truth of the allegations therein and
23   solely for purposes of setting out the nature of its allegations, the Kaufman
24   complaint alleges causes of action for premises liability, general negligence,
25   products liability, and negligence per se. The Kaufman complaint initially named
26   Apeel (erroneously sued as “Apeel Services Inc.”), Southern California Edison, and
27   Allergan, Inc., as defendants. Los Carneros Business Park, Meridian, and other
28   entities were later added as defendants in the Kaufman action through “Doe”
                                                   3
      _______________________________________________________________________________________
                                COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:18-cv-09109-JAK-KS Document 1 Filed 10/23/18 Page 4 of 7 Page ID #:4




 1   amendments.
 2         10.    Mesa is informed and believes, and on that basis alleges, that, in the
 3   Kaufman action, Ryan Kaufman alleges the subject building located at 71 S. Los
 4   Carneros Road was at times owned by Los Carneros Business Park and managed
 5   by Meridian. Los Carneros Business Park leased the building to Allergan, Inc.
 6   Allergan, Inc., in turn subleased the building to Apeel. Apeel then contracted with
 7   CV Enterprises, Inc., dba CompuVision and Vision Communications
 8   (“CompuVision”) to install outside security and monitoring video cameras for the
 9   building. At the time of the accident, Ryan Kaufman was an employee of
10   CompuVision and was working for CompuVision to install security video cameras
11   on the building for Apeel.
12         11.    Mesa issued to Apeel as named insured commercial insurance policy
13   number MP0004008010478, effective for the policy period of February 16, 2017,
14   to February 16, 2018. The Mesa policy afforded commercial general liability
15   coverage under form CG 00 01 04 13, subject to a per-occurrence limit of liability
16   of $1 million. The policy provided that Mesa would pay those sums that the
17   insured was legally obligated to pay as damages because of “bodily injury” but had
18   no duty to defend the insured against any suit seeking damages that were not
19   covered by the policy. The policy included an endorsement under form CG 20 11
20   04 13 that extended additional insured status to Allergan, Inc., Los Carneros
21   Business Park, and Meridian with respect to liability arising out of the ownership,
22   maintenance, or use of that part of the premises leased to Apeel, subject to
23   additional terms and conditions.
24         12.    The Mesa policy’s commercial general liability coverage was
25   modified by an exclusion endorsement precluding coverage for bodily injury to
26   employees, temporary workers, and contractors under form MUS 01 01 20125
27   0915. The Contractors Injury Exclusion endorsement sets forth the following
28   exclusionary terms:
                                                   4
      _______________________________________________________________________________________
                                COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:18-cv-09109-JAK-KS Document 1 Filed 10/23/18 Page 5 of 7 Page ID #:5




 1
        A. Exclusion e. under Paragraph 2. Exclusions of SECTION I –
 2         COVERAGES – COVERAGE A – BODILY INJURY AND
 3         PROPERTY DAMAGE LIABILITY deleted and replaced as
           follows:
 4

 5         e.     Employees, “Temporary Workers” and Contractors

 6                “Bodily injury” to:
 7
                  (1)    An “employee” arising out of and in the course of:
 8                       (a) Employment by any insured; or
 9                       (b) Performing duties related to the conduct of any
                             insured's business; or
10

11                (2)    A “temporary worker” arising out of and in the course of
                         performing duties related to the conduct of any insured’s
12                       business; or
13
                  (3)    A contractor and any persons working for or on its behalf
14                       arising out of and in the course of performing work
15                       related to the conduct of any insured’s business; or

16                (4)    The spouse, child, parent, brother or sister of such person
17                       as a consequence of Paragraphs (1), (2) or (3), above
18         This exclusion applies whether any insured may be liable as an
19         employer or in any other capacity; and to any obligation to share
           damages with or repay someone else who must pay damages because
20         of the injury.
21
           This exclusion applies to liability assumed by any insured under an
22         “insured contract”.
23

24         13.    Defendants Apeel, Allergan, Inc., Los Carneros Business Park, and

25   Meridian tendered their defense of the Kaufman action to Mesa as named insured

26   and purported additional insureds under the Mesa policy. Mesa is currently

27   defending Apeel, Allergan, Inc., and Los Carneros Business Park in connection

28   with the Kaufman action under full reservation of rights, including the right to

                                                   5
      _______________________________________________________________________________________
                                COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:18-cv-09109-JAK-KS Document 1 Filed 10/23/18 Page 6 of 7 Page ID #:6




 1   disclaim coverage and withdraw from the defense because the Contractors Injury
 2   Exclusion precludes any potential for covered liability in connection with the
 3   Kaufman action. In addition, Mesa is currently evaluating the tender from
 4   Meridian. Should Mesa agree to defend Meridian, that defense will likewise be
 5   extended under full reservation of rights, including the right to disclaim coverage
 6   and withdraw from the defense because of the Contractors Injury Exclusion.
 7         14.    An actual controversy has arisen and now exists between Mesa on the
 8   one hand, and defendants Apeel, Allergan, Inc., Los Carneros Business Park,
 9   Meridian, and Ryan Kaufman, and each of them, on the other hand, concerning the
10   applicability of the Mesa policy. Mesa contends that it has no duty to defend or
11   indemnify Apeel, Allergan, Inc., Los Carneros Business Park, Meridian, or anyone
12   else in connection with the Kaufman action because of the Contractors Injury
13   Exclusion quoted above. Mesa is informed and believes that the defendants, and
14   each of them, contend or will contend to the contrary.
15         15.    Given the controversy between Mesa and the defendants, Mesa
16   requests that this court make and enter its binding judicial declaration in
17   accordance with Mesa’s contentions set forth above. The requested declaration is
18   both necessary and proper at this time under the circumstances in that the interests
19   of judicial economy and substantial justice will be served thereby.
20

21         WHEREFORE, Mesa prays for judgment as follows:
22         a.     That the court make and enter a binding judicial declaration in
23                accordance with Mesa’s contentions set forth above;
24         b.     That Mesa be awarded its costs of suit incurred herein; and
25         c.     For such other and further relief as the court deems just and proper.
26

27

28

                                                   6
      _______________________________________________________________________________________
                                COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:18-cv-09109-JAK-KS Document 1 Filed 10/23/18 Page 7 of 7 Page ID #:7




 1                               DEMAND FOR JURY TRIAL
 2         Plaintiff Mesa Underwriters Specialty Insurance Company demands a jury
 3   trial as provided by Fed. R. Civ. P. 38(a).
 4

 5   October 23, 2018                          NIELSEN, HALEY & ABBOTT LLP
 6
                                               By:      /s/ Tung Khuu             .
 7                                                   Tung Khuu
 8                                             Attorneys for Plaintiff, Mesa Underwriters
                                               Specialty Insurance Company
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24
25

26

27

28

                                                   7
      _______________________________________________________________________________________
                                COMPLAINT FOR DECLARATORY JUDGMENT
